                       Case 4:24-cv-04545                                       Document 1-1                              Filed on 11/19/24 in TXSD                                               Page 1 of 1


JS 44 (Rev. 03/24)                                                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use o~(e\fitiffiiet~Oftl§e
purpose of initiating the civil docket sheet. (SEE INS771UC110NS ON NliXF PAGE OF THIS FORM.)                                                   Southern Dist c of
I. (a) PLAINTIFFS                                                                                                                DEFENDANTS                                                                    FILED

           Ania Howard                                                                                                           Nielsen Audio Inc.
                      •                                                                                                                                                                                  NOV 122024
    (b) County ofResidence ofFirst Listed Plaintiff .:..F..=o;.:.rt-=-=B'-"e""n""d=--------                                      County of Residence of First Listed Defendant
                                      (EXCEPT IN U.S. PI.AINTIFF CAS!iS)                                                                                  (IN U.S. PlAINTIFFCASESONlY)                                                   ·-· ::i
                                                                                                                                 NOTE:        IN LAND CONDEMNATION
                                                                                                                                              THE TRACT OF LAND INVOLVED.
                                                                                                                                                                                    CASEsNl.lUum~,ip(il~rk9fC9\fft,'
    (C) Attorneys (Firm Name. Address, and Telephone Number)                                                                      Attorneys (If Known)

            Ania Howard , 2111 Vermillion Oak Street Fresno, TX                                                                  General Counsel, Nielsen Audio, lnc.9705 Patuxent Woods
            77545,346-804-6283                                                                                                   DriveColumbia, MD 21046
Ji. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean "X"lnOneBoxforl'/alntijf
                                                                                                                             (For Dillerslty Ca., es Only)                                             and One Box/or Defendant)
01      U.S . Governmenl                    03       Federal Question                                                                                       PTF       •DEF                                                    PTF         DEF
           Plaintiff                                   (U.S. Governme/11 Not a Party)                                 Citizen of This Slate                OI D                   Incorporated or Principal Place             O4          0 4
                                                                                                                                                                                    of Business In This State

02      U.S . Government                    04       Diversily                                                        Cilizen of Another State             Oi         0     2     Incorporated and Principal Place            05          Os
           Defendant                                   (Indicate Citizenship of l'arties in /rem Ill)                                                                               of Business In Anolher State

                                                                                                                      Citizen or Subject of a              03         □ 3         Foreign Nation                               06         06
                                                                                                                         Foreign Counlty
IV. NATURE OF SUIT (Place a,, "X" in One Box Only)                                                                                                             Click here for: Nature of Suit Code Descri tions.
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    110 Insurance                              PERSONAL INJURY                       PERSONAL INJURY                      625 Drug Rela1ed Seizure                    422 Appeal 28 USC 158                           375 False Claims Act
    120 Marine                                 310 Airplane                     O 365 Personal Injury •                       of Property 21 USC 881                  423 Withdrawal                                  376 Qui Tam (31 USC
    130 Miller Act                             315 Airplane Product                   Product Liabilily                   690 Other                                       28 USC 157                                      3729(a))
    140 Ncgoliable lnSlnuncnl •
                                                1
                                                   Liabilily                    D 367 Health Care/                                                                                                                    400 State Reapportionment
0   150 Recovery of Overpayment                320 Assaull, Libel &                               Phannaceutical                                                ~========-"'1--1 410 Antitrust
        & Enforcement of Judgmenl                  Slander                                        Personal Injury                                                                                                     430 Banks and Banking
0   151 Medicare Act                           330 Federal Employers'                             Product Liabili1y                                                                                                   450 Commerce
D   152 Recovery o~Defaulted                       Liabilily                    D            368 Asbestos Personal                                                     835 Patent. Abbrcvialed                        460 Deportation
        Student Loans                          340 Marine                                          Injury Producl                                                            New Drug App Ii cal ion                  470 Rackclccr Influenced and
        (E.cludes Velerans)                                                                        Liabilily              1::::,-=========,:,,ilB 840 Trademark                                                           Co1TUpt Organizalions
0   153 Recovery ofOvcrpaymcnt                             Liabilily                      PERSONAL PROPERTY -, W" '/"'¢1il ' • RM~ ,'I\'./::•~-       11               880 Defend Trade Secrels                       480 Consumer Credit
        of Veteran's Benefits                        350 Motor Vehicle          D            370 Olher Fraud                 710 Fair Labor Standards                        Acl of20l6                                    (15 USC 1681 or 1692)
0   160 Slockholders' Suils                          355 Molor Vehicle          D            371 Trulh in Lending                 Acl                           1-...,,.,,,.,....,.,.,.....,,,..,,.,.....,.,--,.,t--' 485 Telephone Consumer
0   190 Other Contract                                    Producl Liabilily     D            380 Olher Personal              720 Labor/Management                .t~MSOOIA:lf.SEGlJRI~~"                                   Protection Act
0   195 Contracl Producl Liabilily                   360 Other Personal                           Property Damage                 Relations                     ~ 861 HIA (1395ft)                                    490 Cable/Sat TV
0   196 Franchise                                         Injury                D            385 Property Damage             740 Railway Labor Act                     862 Black Lung (923)                           850 Securities/Commodities/
                                                          Personal 10·         -                  Product Liabilily          751 Family and Me 'cal                    863 DIWC/DIWW (405(g))                              Exchange
                                                                                                                                  Leave Act                            864 SSID Title XVI                             890 Olhcr Stalutory Actions
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                                                                                                                          791 Employee Relirement               ~~Giijai;m:;~fil:iiiJi!!aj 893 Environmental Mauers
  220 Foreclosure                                    oting                                                                    Income Securily Act               l,l                                            895 Freedom oflnformation


§ 230 Renl Lease & Ejecunent
  240 Torts 10 Land
  245 Tort Product Liabilily
0 290 All Olher Real Property
                                                    Employment
                                                    Housing/
                                                    Accommodations
                                                  5 Amer. w/Disabiliti                                                                          Jf$J~i•
                                                                                                                                                                      870 Taxes (U.S . Plaintiff
                                                                                                                                                                          or Defendant)
                                                                                                                                                                      871 IRS-Third Party
                                                                                                                                                                           26 USC 7609
                                                                                                                                                                                                                    Acl
                                                                                                                                                                                                               896 Arbilration
                                                                                                                                                                                                               899 Administrative ~rocedure
                                                                                                                                                                                                                   Act/Review or Appeal of
                                                    Employmenl                                                            462 Naturalization Application                                                           Agency Decision
                                                446 Amer. w/Disabilitics -                                                465 Olher Immigration                                                                950 Constitutionalily of
                                                    Olher                                                                     Actions                                                                              S1ate S1a1utes


                                                                                          Conditions of
                                                                                          Confinemenl
 V. 0 RIG IN (Place an "X" in One Box Only)
fI11 Original                 D2 Removed from                       □ 3         Remanded from                 0 4 Reinstated or D 5 Transferred from 0 6 Multidistrict                                               0 8 Multidistrict
'fli Proceeding                  State Court                                    Appellate Court                        Reopened                      Another District                     Litigation -                       Litigation -
                                                                                                                                 (specify)                                                Transfer                           Direct File
                                                  Cite the U.S. Civil Statute under which you are filing (Do 1101 citejuri,dictio11ul statutes u11/ess di,•crsity):
 VI. CAUSE OF ACTION Title VII of the Civil Rights Act of 1964, Americans with Disabilities Act (ADA), Family and Medical Leave Act (FMLA)
                                                  Brief description of cause:
                                                  Employment discrimination , retaliation, FMLA interference, and hostile work environment.
 VII. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION                                                                    DEMANDS                                              CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER RULE 23, F.RCv.P.                                                                         $2,750.00                                             JURY DEMAND:         0Yes 0No
 VIII. RELATED CASE(S)
       IF ANY           (See lnstroction.,) :
                                                                                                                                                                       DOCKET NUMBER



 FOR OFFICE USE ONLY

     RECEIPT#                           AMOUNT                                            APPLYING IFP                                            JUDGE                                     MAG. JUDGE
